     Case:11-06620-ESL11 Doc#:261 Filed:03/21/13 Entered:03/21/13 13:42:08      Desc: Main
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 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                              THE DISTRICT OF PUERTO RICO
 2
        IN RE:                                  CASE NO. 11-06620 ESL
 3
                                                Chapter 11
 4
        HOTEL AIRPORT INC
 5

 6      XXX-XX-2240

 7
                                                  FILED & ENTERED ON 03/21/2013
 8
                      Debtor(s)
 9
                                    ORDER CONFIRMING PLAN
10
             The Plan of Reorganization under Chapter 11 of the Bankruptcy Code
11
       filed by debtor on 11/09/2012 (docket #190), having been transmitted to
12
       creditors and equity security holders; and
13
             It   having   been   determined   after   hearing   on   notice   that   the
14
       requirements for confirmation set forth in 11 U.S.C. Section 1129(a) have
15
       been satisfied;
16
             IT IS ORDERED THAT:
17           The plan filed by debtor dated 11/09/2012 (docket #190) is hereby
18     confirmed.
19           The debtor shall give notice of this order and the confirmed plan to

20     all parties in interest.

21           In San Juan, Puerto Rico, this 21 day of March, 2013.

22

23
                                                       Enrique S. Lamoutte Inclan
24                                                       U. S. Bankruptcy Judge

25     C:    DEBTOR(S)
             EDGARDO MUNOZ
             UST
